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                                              745

                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                           TYLER DIVISION



 UNITED STATES OF AMERICA                          §

 v.                                                §              CRIM. ACTION NO. 6:09CR18

 ERIC FERNANDO REYES (6)                           §




                              ORDER ADOPTING REPORT AND
                           RECOMMENDATION OF UNITED STATES
                                  MAGISTRATE JUDGE




        The Report and Recommendation of the Magistrate Judge, which contains her findings,

 conclusions, and recommendation for the disposition of specified pending motions in this case has

 been presented for consideration.         The Report and Recommendation recommends that the

 Government’s Motion to Dismiss Petition of Brenda Griego (document #221) be granted and that

 the petition of Brenda Griego filed in response to the Preliminary Order of Forfeiture involving a

 1987 Purple Chevrolet Monte Carlo Custom, VIN 1G1GZ11Z8HP141336, License Plate LWC222

 be dismissed. No written objections have been filed. The Report and Recommendation was mailed

 to Brenda Griego at her last known address via certified mail and was returned as “unclaimed.” The

 Court therefore adopts the findings and conclusions of the Magistrate Judge as those of the Court.

        In light of the foregoing, it is

        ORDERED that the Government’s Motion to Dismiss Petition of Brenda Griego (document

 #221) is GRANTED and the petition of Brenda Griego filed in response to the Preliminary Order



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 of Forfeiture involving a 1987 Purple Chevrolet Monte Carlo Custom, VIN 1G1GZ11Z8HP141336,

 License Plate LWC222 is DISMISSED.


               So ORDERED and SIGNED this 10th day of February, 2010.




                                                             __________________________________
                                                             LEONARD DAVIS
                                                             UNITED STATES DISTRICT JUDGE




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